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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                  VALDOSTA DIVISION

      EDWARD & JERRI KELLER,
      Individually, and as Property Owners,
                Plaintiff,

     v.
                                                      Civil Action No: 7:20-CV-00105-HL
      NORFOLK SOUTHERN
      CORPORATION and NORFOLK
      SOUTHERN RAILWAY COMPANY,
                Defendants.


                ANSWER OF NORFOLK SOUTHERN CORPORATION AND
                   NORFOLK SOUTHERN RAILWAY COMPANY TO
                           PLAINTIFFS’ COMPLAINT

          COME NOW Norfolk Southern Corporation (“NSC”) and Norfolk Southern Railway

Company (“NSRC”), Defendants in the above-styled action, and respond to the allegations in

Plaintiffs’ Complaint as follows:

                                         FIRST DEFENSE

          The Complaint fails to state a claim or claims upon which relief can or may be granted.

                                        SECOND DEFENSE

          Plaintiffs’ claims are preempted, precluded and/or superseded, in whole or in part, by

federal law, including but not limited to the Federal Railway Safety Act of 1970, 49 U.S.C. §

20101, et seq., and/or regulations issued by the Secretary of Transportation thereunder, the

Interstate Commerce Commission Termination Act of 1995, or other federal laws, rules, or

regulations.
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                                       THIRD DEFENSE

        Any damages alleged by Plaintiffs were proximately caused by an act or acts, or omission

or omissions, on the part of others and not NSC or NSRC, and accordingly, recovery or relief

against NSC or NSRC is barred.

                                      FOURTH DEFENSE

        NSC and NSRC state that any injury, loss or damage alleged by Plaintiffs was

proximately caused or contributed to by a superseding or intervening cause or causes other than

an act or omission on the part of NSC or NSRC, and thus, Plaintiffs are barred from any recovery

herein, or the damages, if any, must be apportioned, and NSC and NSRC are only responsible for

damages, if any, for which they are found responsible.

                                        FIFTH DEFENSE

        Defendants state that the negligence of Plaintiffs was the sole proximate cause of

Plaintiffs’ damages, and accordingly, Plaintiffs are barred from any recovery herein.

Alternatively, the negligence of Plaintiffs, if not the sole proximate cause of Plaintiffs’ damages,

was a concurrent cause that proximately contributed to Plaintiffs’ damages, and NSC and NSRC

request that the Court compare and assess the proportionate percentage of negligence attributable

to the Plaintiffs.

                                        SIXTH DEFENSE

        NSC and NSRC state that the alleged incident underlying Plaintiffs’ claims was not

reasonably foreseeable by NSC or NSRC.




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                                      SEVENTH DEFENSE

       NSC and NSRC state that the damages were caused by the negligence of the Plaintiffs,

which negligence, if not the sole cause of the damages, equaled or exceeded the negligence of all

other parties to the accident, and accordingly, Plaintiffs cannot recover in this action.

                                       EIGHTH DEFENSE

       The damages or losses of which Plaintiffs complain were not in any manner caused or

contributed to by any wrongful act or omission of Defendants.

                                        NINTH DEFENSE

       Defendants deny that they created a nuisance, engaged in trespass, were negligent or

otherwise liable as alleged in Plaintiffs’ Complaint and further deny that they breached any duty

owed to Plaintiffs.

                                        TENTH DEFENSE

       Defendants complied with all applicable statutes and regulations, both federal and state,

in the operation and use of the property that is the subject of Plaintiffs’ Complaint.

                                     ELEVENTH DEFENSE

       Defendants assert that Plaintiffs’ injuries and damages, if any, were proximately caused

by an act of God or natural condition or event, and force majeure events, and accordingly,

recovery or relief against Defendants is barred.

                                      TWELFTH DEFENSE

       Plaintiffs’ Complaint should be dismissed, as Defendants’ use of property and/or exercise

of property rights has been consistent with their constitutional and legal real property interests.




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                                   THIRTEENTH DEFENSE

        Defendants’ use of real property rights and interests and/or exercise of same has been

reasonable, appropriate, necessary, and in accordance with sound industry standards, and

consistent with such uses of said property rights as would be considered reasonable in the

locality.

                                   FOURTEENTH DEFENSE

        Plaintiffs’ Complaint should be dismissed inasmuch as the rainfall event(s) giving rise to

the alleged damages in question were such an unusual, abnormal, and extraordinary

manifestation of the forces of nature that it could not have been anticipated or foreseen by

Defendants or in any manner arising from or relating to any activities or uses of real property

and/or exercise of property rights by NSC and/or NSRC.

                                    FIFTEENTH DEFENSE

        Defendants state that the damages, if any, of which Plaintiffs complain were exacerbated

by Plaintiffs’ failure to mitigate the damages.

                                    SIXTEENTH DEFENSE

        NSC and NSRC hereby incorporate by reference, as though specifically set forth herein,

any and all affirmative defenses generally recognized as applicable to actions of this type

asserted by Plaintiffs in the Complaint. Such defenses include, but are not limited to, any and all

affirmative defenses set forth in Rules 8 and 12 of the Federal Rules of Civil Procedure or known

under existing law, rule, regulation or statute, or which may become recognized in the future by

courts or promulgated by rule or regulation or otherwise enacted into law.




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                                  SEVENTEENTH DEFENSE

       Defendants would further show that Plaintiffs’ alleged damages were caused, in whole or

in part, by preexisting conditions, or other contributory or concurrent conditions or factors,

including events occurring prior or subsequent to the occurrence made the basis of Plaintiffs’

claim against NSC and NSRC. Accordingly, damages, if any, must be apportioned, and NSC

and NSRC are only responsible for damages, if any, for which they are found responsible.

                                   EIGHTEENTH DEFENSE

       Defendants incorporate the defenses set forth in their Notice of Removal.

                                   NINETEENTH DEFENSE

       Defendants reserve the right to amend their Answer to include additional affirmative

defenses should discovery and investigation reveal such further affirmative defenses.

                                    TWENTIETH DEFENSE

       Plaintiffs cannot meet the requirements of O.C.G.A. § 51-12-5.1, and as a result, punitive

damages may not be awarded in this case.

                                  TWENTY-FIRST DEFENSE

       Without waiving their denial of liability to the Plaintiffs, including without limitation

their denial of any liability for punitive damages, Defendants plead the limitations on punitive

damages imposed by O.C.G.A. § 51-12-5.1.

                                TWENTY-SECOND DEFENSE

       The award of punitive damages pursuant to a procedure which fails to provide a

reasonable limit on the amount of the award against the Defendants violates the Due Process

Clause of the Fourteenth Amendment of the United States Constitution and the Due Process

Clause of Article I, Section 1, Paragraph 1 of the Georgia Constitution.



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                                 TWENTY-THIRD DEFENSE

         The award of punitive damages pursuant to a procedure which fails to provide specific

standards or guidelines for the amount of the award violates the Due Process Clause of the

Fourteenth Amendment of the United States Constitution and the Due Process Clause of Article

I, Section 1, Paragraph 1 of the Georgia Constitution.

                                TWENTY-FOURTH DEFENSE

         The procedures pursuant to which punitive damages are awarded permit the imposition of

punitive damages in excess of the maximum criminal fine for the same or similar conduct, which

violates the Due Process Clause of the Fifth and Fourteenth Amendments and the Equal

Protection Clause of the Fourteenth Amendment of the United States Constitution.

                                 TWENTY-FIFTH DEFENSE

         The procedures pursuant to which punitive damages are awarded are unconstitutionally

vague.

                                 TWENTY-SIXTH DEFENSE

         The procedures pursuant to which punitive damages are awarded permit the imposition of

excessive fines in violation of the Eighth Amendment of the United States Constitution and

Article I, Section 1, Paragraph 17 of the Georgia Constitution.

                               TWENTY-SEVENTH DEFENSE

         The award of punitive damages in such a way that may result in the award of joint and

several judgments against multiple defendants for different alleged acts of wrongdoing violates

the Due Process and Equal Protection Clauses of the Fourteenth Amendment of the United States

Constitution.




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                                 TWENTY-EIGHTH DEFENSE

       The award of punitive damages under a procedure which results in the imposition of

different penalties for the same or similar acts violates the Equal Protection Clause of the

Fourteenth Amendment of the United States Constitution.

                                  TWENTY-NINTH DEFENSE

       The award of punitive damages to the plaintiffs in this case would constitute a

deprivation of property without due process of law required under the Fifth and Fourteenth

Amendments of the United States Constitution and the Due Process Clause of Article I, Section

1, Paragraph 1 of the Georgia Constitution.

                                     THIRTIETH DEFENSE

       The Plaintiffs’ demand for punitive damages violates the Due Process Clause of the

Fourteenth Amendment of the United States Constitution in that the claim for punitive damages

is vague and not rationally related to any legitimate government interests.

                                 THIRTY-SECOND DEFENSE

       The Plaintiffs’ demand for punitive damages violates the Sixth Amendment of the United

States Constitution in that the Plaintiffs’ claim for punitive damages is a claim that is penal in

nature, entitling the defendants to the same procedural safeguards accorded to a criminal

defendant under the Sixth Amendment.

                                  THIRTY-THIRD DEFENSE

       The Plaintiffs’ demand for punitive damages violates the self-incrimination clause of the

Fifth Amendment of the United States Constitution in that the damages claimed are penal in

nature while the defendant is required to disclose documents and/or other evidence without the

safeguard against self-incrimination set out in the Fifth Amendment.



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                                THIRTY-FOURTH DEFENSE

       The Plaintiffs’ demand for punitive damages violates the Fifth Amendment of the United

States Constitution which prohibits deprivation of life, liberty or property except by due process

of law in that the claim for punitive damages is vague and not rationally related to any legitimate

government interests.

                                  THIRTY-FIFTH DEFENSE

       The Plaintiffs’ demand for punitive damages violates the rights guaranteed by the United

States Constitution in that the claim for punitive damages is penal in nature for which the burden

of proof on the plaintiffs is less than the ‘beyond a reasonable doubt’ standard required in

criminal cases.

                                  THIRTY-SIXTH DEFENSE

       The Plaintiffs’ demand for punitive damages is unconstitutional under the Constitution of

the State of Georgia which provides in Article I, Section 1, Paragraph 1 that no person shall be

deprived of life, liberty or property except by due process of law, in that the punitive damages

claimed are vague and not rationally related to any legitimate government interests.

                                THIRTY-SEVENTH DEFENSE

       The Plaintiffs’ demand for punitive damages is unconstitutional under the Constitution of

the State of Georgia which provides in Article I, Section 1, Paragraph 1, that no person shall be

deprived of life, liberty or property except by due process of law, in that the punitive damages

claimed are penal in nature, requiring a burden of proof on the plaintiffs which is less than the

‘beyond a reasonable doubt’ burden of proof required in criminal cases.




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                                 THIRTY-EIGHTH DEFENSE

       The Plaintiffs’ demand for punitive damages is unconstitutional under the Constitution of

the State of Georgia, in that it violates Article I, Section 1, Paragraph 1, by claiming punitive

damages which are penal in nature while the defendants are compelled to disclose documents

and/or other evidence without a constitutional safeguard against self-incrimination.

                                  THIRTY-NINTH DEFENSE

       The imposition of punitive damages in the unbridled discretion of the jury violates the

Fourth, Fifth, Sixth, Eighth, and Fourteenth Amendments of the United States Constitution.

                                     FORTIETH DEFENSE

       The events that formed the basis of Plaintiffs’ Complaint were the result of natural forces

beyond the control of any Defendant. The Plaintiffs’ causes of action, or any legally recognized

cause of action by the courts of this State arising from an unprecedented event(s), would result in

the deprivation of the constitutional rights of NSC and NSRC guaranteed by the Constitution of

the United States and the Constitution of the State of Georgia.

                                   FORTY-FIRST DEFENSE

       Defendants incorporate by reference thereto their prior affirmative defenses and now

respond to the individually numbered paragraphs in Plaintiffs’ Complaint as follows:

                                                 1.

       Defendants admit that both NSC and NSRC are Virginia corporations authorized to

conduct business in Georgia. Defendants further admit that their registered agent in Georgia is

located at 577 Mulberry Street, Suite 1500, Macon, Georgia 31201. Any remaining allegations

in Paragraph 1 of Plaintiffs’ Complaint are denied as pled by Plaintiffs.




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                                                 2.

        Defendants admit only that NSRC maintains a railroad in Echols County, Georgia. Any

remaining allegations contained in Paragraph 2 of Plaintiffs’ Complaint are denied as pled by

Plaintiffs.

                                                 3.

        The allegations contained in Paragraph 3 of Plaintiffs’ Complaint require no response

from Defendants, but to the extent a response is required, said allegations as characterized by

Plaintiffs are denied by Defendants.

                                                 4.

        Defendants are without knowledge or information sufficient to allow them to form a

belief as to the truth of the allegations contained in Paragraph 4 of Plaintiffs’ Complaint, and as

such the allegations are denied at this time.

                                                 5.

        Defendants are without knowledge or information sufficient to allow them to form a

belief as to the truth of the allegations contained in Paragraph 5 of Plaintiffs’ Complaint, and as

such the allegations are denied at this time.

                                                 6.

        Defendants deny the allegations contained in Paragraph 6 of Plaintiffs’ Complaint.

                                                 7.

        Defendants are without knowledge or information sufficient to allow them to form a

belief as to the truth of the allegations contained in Paragraph 7 of Plaintiffs’ Complaint, and as

such the allegations are denied at this time.




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                                                 8.

        Defendants admit only that the track roadbed includes the appropriate drainage

components as required by federal law. Any remaining allegations in Paragraph 8 of Plaintiffs’

Complaint are denied as pled by Plaintiffs.

                                                 9.

        Defendants deny the allegations contained in Paragraph 9 of Plaintiffs’ Complaint.

                                                10.

        Defendants deny the allegations contained in Paragraph 10 of Plaintiffs’ Complaint.

                                                11.

        Defendants deny the allegations contained in Paragraph 11 of Plaintiffs’ Complaint.

                                                12.

        Defendants are without knowledge or information at this time sufficient to allow them to

form a belief as to the truth of the allegations contained in Paragraph 12 of Plaintiffs’ Complaint

as pled by Plaintiffs.

                                                13.

        Defendants deny the allegations contained in Paragraph 13 of Plaintiffs’ Complaint as

pled by Plaintiffs.

                                                14.

        Defendants admit only that employees were present in this area for track inspection, but

Defendants deny all remaining allegations in Paragraph 14 as pled by Plaintiffs.




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                                                15.

       Defendants deny the allegations contained in Paragraph 15 of Plaintiffs’ Complaint as

pled by Plaintiffs, but admit that water accumulated in and around certain areas of the railroad

track which traversed Echols County, Georgia.

                                                16.

       Defendants deny the allegations contained in Paragraph 16 of Plaintiffs’ Complaint as

pled by Plaintiffs.

                                                17.

       Defendants deny the allegations contained in Paragraph 17 of Plaintiffs’ Complaint as

pled by Plaintiffs.

                                                18.

       Answering the allegations contained in Paragraph 18 of Plaintiffs’ Complaint,

Defendants admit only that equipment was brought to Echols County to address accumulation of

water adjacent to the railroad track.

                                                19.

       Defendants deny the allegations contained in Paragraph 19 of Plaintiffs’ Complaint as

pled by Plaintiffs.

                                                20.

       Defendants deny the allegations contained in Paragraph 20 of Plaintiffs’ Complaint as

pled by Plaintiffs.

                                                21.

       Defendants deny the allegations contained in Paragraph 21 of Plaintiffs’ Complaint as

pled by Plaintiffs.



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                                              22.

       Defendants deny the allegations contained in Paragraph 22 of Plaintiffs’ Complaint as

pled by Plaintiffs.

                                              23.

       Defendants deny the allegations contained in Paragraph 23 of Plaintiffs’ Complaint as

pled by Plaintiffs.

                                              24.

       Defendants deny the allegations contained in Paragraph 24 of Plaintiffs’ Complaint.

                                              25.

       Defendants deny the allegations contained in Paragraph 25 of Plaintiffs’ Complaint.

                                              26.

       Defendants deny the allegations contained in Paragraph 26 of Plaintiffs; Complaint.

                                              27.

       Defendants deny the allegations contained in Paragraph 27 of Plaintiffs’ Complaint.

                                              28.

       Defendants deny the allegations contained in Paragraph 28 of Plaintiffs’ Complaint.

                                              29.

       Defendants deny the allegations contained in Paragraph 29 of Plaintiffs’ Complaint.

                                              30.

       Defendants deny the allegations contained in Paragraph 30 of Plaintiffs’ Complaint.

                                              31.

       Defendants deny the allegations contained in Paragraph 31 of Plaintiffs’ Complaint.




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                                                32.

       Defendants deny the allegations contained in Paragraph 32 of Plaintiffs’ Complaint.

                                                33.

       Defendants deny the allegations contained in Paragraph 33 of Plaintiffs’ Complaint.

                                                34.

       Defendants are without knowledge or information sufficient to allow them to form a

belief as to the truth of the allegations contained in Paragraph 34 of Plaintiffs’ Complaint.

                                                35.

       Defendants are without knowledge or information sufficient to allow them to form a

belief as to the truth of the allegations contained in Paragraph 35 of Plaintiffs’ Complaint, and as

such said allegations are denied by Defendants at this time.

                                                36.

       Defendants deny all paragraphs, subparagraphs, and sentences not specifically responded

to herein.

       WHEREFORE, Defendants Norfolk Southern Corporation and Norfolk Southern

Railway Company demand that Plaintiffs’ Complaint be dismissed, and that this Court award

Defendants their costs of defending this action. In the alternative, Defendants move this

Honorable Court for a trial before a jury of twelve persons, and for such other and further relief

as may be just and proper.




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      This 10th day of June, 2020.



                                           /s/ Amanda M. Morris
                                           MARK E. TOTH
                                           Georgia Bar No. 714727
                                           AMANDA M. MORRIS
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2020, I electronically filed Answer of Norfolk Southern

Corporation and Norfolk Southern Railway Company to Plaintiffs’ Complaint by depositing a

copy of same in the United States mail in a properly addressed envelope with adequate postage

thereon and with the Clerk of Court using the CM/ECF system, which will automatically send

email notification of such filing to the following attorney of record:

                                      Reginald C. Wisenbaker
                                      Wisenbaker & Swan, LP
                                      301B North Patterson St.
                                      Valdosta, Georgia 31601
                                    rexwisenbaker@yahoo.com
                                        Attorney for Plaintiff

       This 10th day of June, 2020.
                                                      /s/ Amanda M. Morris
                                                      AMANDA M. MORRIS




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